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                               UNITED STATES DISTRICT COURT
11
12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                          No. CR 23-cr-00599-MCS
14                Plaintiff,                            JOINT STIPULATION TO NOT SIT
15                                                      FOR TRIAL ON FRIDAY,
                         v.
16                                                      SEPTEMBER 13, 2024 AND TO SIT
     ROBERT HUNTER BIDEN,                               FOR TRIAL ON MONDAY,
17                                                      SEPTEMBER 9, 2024
18                Defendant.
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           The United States and the defendant, through undersigned counsel, hereby agree,
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     and respectfully request the Court’s approval, to not sit for trial on Friday, September 13,
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     2024. One of the government’s attorneys is in a wedding for an immediate family
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     member on the East Coast that weekend, which was scheduled prior to the rescheduling
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     of the trial date in this matter. Additionally, the parties respectfully request and are
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     amenable to sitting for trial on Monday, September 9, 2024, if the Court is inclined to do
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     so. This would permit the Court to hold 4 days of trial that week. Counsel for the
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     government has conferred with counsel for the defendant who has indicated that this
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     request can be filed as a joint stipulation.
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 1    Dated: July 18, 2024
 2
      Respectfully submitted,
 3
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 5
      /s/                                          /s/
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